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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                     CONSOLIDATED ACTION

                                                               CASE NO. 20-60851-CIV-SINGHAL
                                                               CASE NO. 20-22207-CIV-SINGHAL
                                                               CASE NO. 20-22316-CIV-SINGHAL
                                                               CASE NO. 20-22594-CIV-SINGHAL

  IN RE: UNIVERSITY OF MIAMI COVID-19
  TUITION AND FEE REFUND LITIGATION
  ________________________________________/

     DEFENDANT’S NOTICE REGARDING ITS RESPONSE TO PLAINTIFFS’ JOINT
       MOTION FOR APPOINTMENT OF CO-LEAD INTERIM CLASS COUNSEL

         Defendant, University of Miami (the “University”), by and through undersigned counsel,

  hereby gives notice that, following the filing of its Response to Plaintiffs’ Joint Motion for

  Appointment of Co-Lead Interim Class Counsel (D.E. 42), the parties conferred regarding the

  logistical concerns raised in the University’s Response. Plaintiffs’ counsel advised that Sarah N.

  Westcot of Bursor & Fisher, P.A. has been designated by Plaintiffs as their “communications

  counsel” and will serve as the single point of contact on behalf of Plaintiffs for requests, pre-filing

  meet and confers, etc. The University respectfully requests that any Order entered by the Court

  regarding Plaintiffs’ Motion include that designation.
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                                     Respectfully submitted,

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                                  CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that a true and correct copy of the foregoing has been served via
  CM/ECF this 7th day of August, 2020, upon the following:
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                                                     Counsel for Plaintiff, Adelaide Dixon

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